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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

 CONSOLIDATED INDUSTRIES, LLC                    )
 d/b/a WEATHER KING PORTABLE                     )
 BUILDINGS,                                      )
                                                 )
        Plaintiff,                               )
                                                 )   Civil Action No. 1:22-cv-01230-STA-jay
 v.                                              )
                                                 )   Chief Judge S. Thomas Anderson
 JESSE A. MAUPIN, BARRY D.                       )
 HARRELL, ADRIAN S. HARROD,                      )
 LOGAN C. FEAGIN, STEPHANIE L.                   )
 GILLESPIE, RYAN E. BROWN, DANIEL                )
 J. HERSHBERGER, BRIAN L. LASSEN,                )
 ALEYNA LASSEN, and AMERICAN                     )
 BARN CO., LLC,                                  )
                                                 )
        Defendants.


 PLAINTIFF’S MOTION TO COMPEL FORENSIC EXAMINATION OF INDIVIDUAL
     DEFENDANTS’ MOBILE PHONES AND OTHER COMPUTER DEVICES

       Pursuant to Fed. R. Civ. P. 37, Plaintiff respectfully requests that the court compel

Defendants Jesse Maupin, Barry Harrell, Adrian Harrod, Logan Feagin, Stephanie Gillespie, Ryan

Brown, Daniel Hershberger, Brian Lassen, and Aleyna Lassen to produce their mobile phones and

other computer devices for forensic examination and imaging. As grounds for this motion,

Plaintiff submits that Defendants have not produced highly-relevant documents requested in

discovery and that a forensics examination is necessary to attempt to retrieve relevant documents

and to determine the circumstances in which relevant documents were destroyed. Plaintiff has set

forth a proposed protocol governing the examination in a proposed order granting this motion

(being submitted to chambers).     In support of this motion, Plaintiff has filed herewith a

memorandum of law, as well as the following exhibits:
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       1.        Excerpts of Defendant Adrian Harrod’s written discovery responses, filed herewith

as Exhibit 1;

       2.        Excerpts of Defendant Jesse Maupin’s First Supplemental Responses to Plaintiff’s

First Set of Interrogatories, filed herewith as Exhibit 2;

       3.        Excerpts of Defendant American Barn Co., LLC’s written discovery responses,

filed herewith as Exhibit 3;

       4.        Excerpts of Defendant Jesse Maupin’s written discovery responses, filed herewith

as Exhibit 4;

       5.        Documents received in response to subpoena to Troy Buttrey, filed herewith as

Exhibit 5;

       6.        Email received in response to subpoena to James Kowalzyk, filed herewith as

Exhibit 6;

       7.        Excerpts of Defendant Brian Lassen’s written discovery responses, filed herewith

as Exhibit 7;

       8.        Text message from Brian Lassen to Freddie Rodriguez, sent to Tim Boyd, filed

herewith as Exhibit 8;

       9.        April 19, 2023 letter from Plaintiff’s counsel to Defendants’ counsel, filed herewith

as Exhibit 9; and

       10.       May 5, 2023 letter from Defendants’ counsel to Plaintiff’s counsel, filed herewith

as Exhibit 10.
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                                                   BUTLER SNOW LLP

                                                   /s/ David L. Johnson_________________
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                                                   Attorneys for Plaintiff



                                CERTIFICATE OF COUNSEL

       In accordance with Local Rule 7.2(a)(1)(B), I, counsel for Plaintiff certify that the parties’

counsel have conferred about the relief requested in this motion but were unable to reach accord.

Specifically, after conferring with Attorney Thomas Pasternak in writing about deficiencies in

Defendants’ discovery responses, Attorney John Dollarhide and I had phone conferences with Mr.

Pasternak about these issues on May 1, 2023, and May 18, 2023.

                                                    /s/ David L. Johnson___________________
                                                    David L. Johnson
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 19, 2023, I filed the foregoing with the Court using the ECF

system, which will provide notice and a copy to counsel of record:

        Thomas G. Pasternak
        AKERMAN LLP
        71 South Wacker Drive, 47th Floor
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        Attorneys for Defendants


                                                  /s/ David L. Johnson___________________
                                                  David L. Johnson




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